        ^CJA26 (Rev 10/00)

              SUPPLEMENTAL INFORMATION STATEMENT FOR A COMPENSATION CLAIM IN EXCESS OF THE
                         STATUTORY CASE COMPENSATION MAXIMUM: DISTRICT COURT

          THIS FORM I'ROVIDES INFORMATIONTOSUPPORT COUNSEL’S CLAIMTHAFTi IF REPRESENTATION GIVEN WAS IN AN EXTENDEDOR COMPLEX
          CASE, AND THAT THE EXCESS PAYMFN'I'IS NECESSARY TO I'ROVIDE FAIR COMPENSATION. PARAGRAPH 2.22 15(3) OF THE GUIDEUl^ES FOR
          THE ADMINISTRATION OF THE CRIMINAL JUSTICE ACT. VOLUME VII. GUIDE TO JUDICIARY POLICIES AND PROCEDURES. Dlil-'INHS T1 IE TERMS
          "EXTENDED” AND “COMPLEX,” AND SUGGESTS CRITERIA FOR DETERMINING “FAIR COMPENSATION.” THIS FORM SERVES AS COUNSEL’S
          MEMORANDUM REQUIRED BY PARAGRAPI12.22 C{2)OF THOSE GUIDELINES.AND DOES NOT REPLACE ANY OTi lER DOCUMENTA TION REQUIRED
          TO SUPPORT THE PAYMENT REQUEST. IF EXTRA SPACE IS NEEDED. ATTACH ADDITIONAl. SFIFETS OF PAPER.

          ATTORNEY NAME:
                                                 LU ((iUj
          CASE NAME:

          DOCKET NUMBER:                        DEFENDANT NUMBER:                             VOUCHER NUMBER.

         1                                                                                  TO
             PERIOD OF APPOINTMENT(DATES):
                                                                                                 /l/oZ- 1M
             TOTAL NUMBER OF IN-COURT HOURS:            0.00     SPECIFYING: PRETRIAL HEARINGS        2.        TRIAL

                 SENTENCING HEARINGS                     ALL OTHER IN-COURT

             TOTAL NUMBER OF OUT-OF'-COURT HOURS:


         2   OFFliNSES CHARGED:


             NUMBER OF COUN'i'S Cl lARGED:   3                                  NUMBER OF CO-DFT'HNDAN'FS:   :x:
             OTHER PENDING CASES(DOCKET NUMBERS)OF DEFENDANT DURING RFIPRESENTATION:

             IF APi'LlCABLE,SENTENCING GUIDELINE RANGE FOUND BY ITIE COURT FOR SENTENCING:

             WAS A MANDATORY MINIMUM FOUND OR AT ISSUE AT SENTENCING'.'       YES                NO

         3   DESCRIBE DISCOVERY MATERIALS (NA'I'URE AND VOLUME)AND/OR DISCOVERY PRACTICES WHICH ARE A NOTEWORTHY FACTOR
             IN TI10 NUMBER OF HOURS CLAIMED:




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                                              -                                     rny          6a^ *0 CNi    ^4-^ k. c-          yti
                                C.T            ^



         4   LIST AND DESCRIBE MOTIONS,LEGAL MEMORANDA.,)URY INS TRUCTIONS. AND SENTENCING DOCUMENTS,OR LEGAL RESEARCH NOT
             RESULTING IN SUCH, WHICH ARE A NOTEWORTHY FACTOR IN THE NUMBER OF HOURS CLAIMED AND WHICH WERE DRAFTED
             ORIGINALLY FOR THIS CASE(DO NOT INCLUDE STANDARDIZED MOTIONS. ETC.. UNLESS CONTENT WAS MODIFIED SIGNIFICANTLY):

         lv\c4toA ok
                    /V,04


         5   SUMMARIZE INVES l'iGATION AND CASE PREPARATION (E.G.. NUMBER AND ACCESSIBILITY OF WITNESSES INTERVIEWED. RECORD
             COLLECTION. DOCUMENT ORGANIZATION) WHICH AR1-: A NOTEWORTHY F'ACTOR IN THE NUMBER OF HOURS CLAIMED:

                                                                                Zf




                                                          - CONTINUED ON REVERSE SIDE -


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                 PageID          Page 2 of 2          Filed 12/06/23            Document 2-1             Case 2:23-cv-00163-CEA-CRW
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